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UN|TED STATES OF AN'|ER|CA

   

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-v- 2:04CR20155-01-M|""“3~ `~'»" -"-‘\i._ i:u_-l‘:l€~‘-tlj;.g

JASON CHAFF|N
Lee Gera|d CJA
Defense Attorney
8 South Third Street, 4"‘ F|oor
Memphis, TN 38103

 

 

JUDG|V|ENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on August 31 , 2004. Accordinglyl
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section M Offerlse Number§s)
Concluded
18 U.S.C. § 922(g) Felon in Possession of a Firearm 05)'28/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Seo. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 05/23/1984 l\/lay 06, 2005
Deft’s U.S. l\/larsha| No.: 19603-076

Defendant’s Mai|ing Address:

2322 Poe
i\/lemphis, TN 38114

§§ llO UL(/
JON PH|PPS lVlCCALLA
|TED STATES D|STRICT JUDGE
|Vlay 20 , 2005

/ `
Thts document entered on the docket sheet in chpl:a. , o l
. _¢/., ,@_S l §
with Fluls 55 and/or 32(b) FHCrP on J j y

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Case No: 2:04CR20155-O1-Nll Defendant Name: Jason CHAFF|N Page 2 of 4
|MPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 37 Months (or 3 Years and 1 Nlonth) to be served

concurrently with indictment 2:04CR20441-01 for a total term of incarceration of 37
Months (or 3 ¥ears and 1 Nlonth).

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarsha|

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Case No: 2:04CR20155-01-M| Defendant Name: Jason CHAFF|N Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years to be supervised concurrently with the period of supervised release
in indictment 2:04CR20441-01 for a total term of supervision of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial districtwithout the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten('lO) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No'. 2:04CR20155-01-lvil Defendant Name: Jason CHAFF|N Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsr and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13_ lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Nlonetary Penalties sheet of thisjudgment.

ADD|TlONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall seek and maintain full-time employmentl

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.
CR|M|NAL N|ONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Scheduie of Payments. The defendant sha|t pay interest on any fine
or restitution of more than $2,500, unless the fine or restitution is paid in full before the fifteenth day after
the date of judgment, pursuant to 18 U.S.C. § 3612(f). A|l of the payment options in the Schedu|e of
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution

$100.00

The Specia| Assessment shall be due immediatelyl

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

  
 

   

   

  

UNITED sTATE DRISTIC COURT - WESERNT DSRTCT 0FTENNESSEE

    

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20155 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Lee Hovvard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

